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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


MATTHEW DUNLAP,


              Plaintiff,

    v.                               Civil Docket No. 17-cv-2361 (CKK)

PRESIDENTIAL ADVISORY
COMMISSION ON ELECTION
INTEGRITY et al.,


              Defendants.



          MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION
         TO RECONSIDER THIS COURT’S DECEMBER 22, 2017, ORDER
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                                        INTRODUCTION

       On January 3, 2017, the President terminated the Presidential Advisory Commission on

Election Integrity (the “Commission”). The Commission did not issue a report or make any

recommendations before its dissolution. In light of these changed circumstances, defendants

respectfully move that this Court reconsider and vacate its December 22, 2017, preliminary

injunction ordering defendants to produce certain documents to plaintiff in order to facilitate his

participation as a member of the now-dissolved Commission.

       First, there is no longer a prospect of irreparable injury to the plaintiff. This Court

entered its preliminary injunction so that plaintiff “can contribute along the way in shaping the

ultimate recommendations of the Commission.” Mem. Op. at 17, ECF No. 33. But because the

Commission has been terminated, there is no longer a prospect of injury caused by plaintiff’s

inability to participate in any deliberations of a now-dissolved Commission. Accordingly, this

case is now about plaintiff’s right to a closed universe of documents, i.e., those created before the

Commission’s dissolution, and those rights can be adjudicated in the normal course, without the

need for the extraordinary remedy of preliminary injunctive relief. Furthermore, to the extent

plaintiff now suggests that he has a right to participate in the post-Commission disposition of the

state voter data that was collected by the Commission (and is now in the custody of White House

officials), neither Cummock v. Gore nor this Court’s opinion clearly provides a former

Commission member the right to information about such activities. And in any event, such

“state voter data will not be transferred to or accessed or utilized by, DHS or any other agency,

except to the National Archives and Records Administration (‘NARA’), pursuant to federal law,

if the records are not otherwise destroyed. Pending resolution of outstanding litigation involving

the Commission, and pending consultation with NARA, the White House intends to destroy all



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state voter data.” Second Herndon Decl. ¶ 4. “Non-public Commission records will continue to

be maintained as Presidential Records,” and they will not “be transferred to the DHS or another

agency, except to NARA, if required, in accordance with federal law.” Id. ¶ 5.

       None of the other factors continue to justify preliminary injunctive relief. In light of the

dissolution of the Commission, plaintiff has not shown a likelihood of success on the merits.

The Court’s initial decision was based on Cummock v. Gore’s holding that a committee member

has “the right to fully participate in the work of the committee to which he . . .is appointed,” 180

F.3d 282, 291 (D.C. Cir. 1999), and concluded that plaintiff is “entitled to substantive

information so that he can contribute along the way in shaping the ultimate recommendations of

the Commission,” Mem. Op. at 17. Neither Cummock nor this Court addressed the scope of a

member’s right to participate when a committee was dissolved before any report or

recommendations were issued, and defendants respectfully submit that this duty is best briefed

and decided on the basis of a full record and full briefing. Furthermore, the balance of equities

and the public interest no longer warrant preliminary injunctive relief. In its opinion, this Court

concluded that they do based on the plaintiff’s interest in full participation in the Commission; in

light of the Commission’s dissolution, that calculus has changed. Finally, if this Court denies

defendants’ motion for reconsideration of the preliminary injunction, defendants respectfully

request that the Court stay its order pending consideration of an appeal, as the immediate release

of documents would moot defendants’ right to appeal that disclosure order.

                                         BACKGROUND

       The Presidential Advisory Commission on Election Integrity was established by

Executive Order 13,799 on May 11, 2017. See Exec. Order No. 13,799, 82 Fed. Reg. 22,389

(May 11, 2017). On December 22, 2017, this Court granted-in-part and denied in part plaintiff’s



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motion for a preliminary injunction, requiring defendants to produce to plaintiff three categories

of documents “and any similar documents that exist now or in the future.” Mem. Op. at 18-19.

After that order was issued, on January 3, 2017, the President issued an Executive Order

revoking the original Executive Order establishing the Commission and ordering that “the

Presidential Advisory Commission on Election Integrity is accordingly terminated.” See

Termination of Presidential Advisory Commission on Election Integrity § 1, Exec. Order No.

13,820 § 1, 83 Fed. Reg. 969 (Jan. 3, 2017). The Commission did not issue any report or make

any recommendations before its dissolution. Furthermore, “[t]he Commission did not create any

preliminary findings.” Second Herndon Decl. ¶ 5.

       In addition, “[t]he state voter data has never been transferred to, or accessed, or utilized

by, the Department of Homeland Security (“DHS”) or any other agency.” Id. ¶ 4. It will not be

“transferred to, or accessed or utilized by, DHS or any other agency, except to [NARA], pursuant

to federal law, if the records are not otherwise destroyed.” Id. “[T]he White House intends to

destroy all state voter data” pending the “resolution of outstanding litigation involving the

Commission, and pending consultation with NARA.” Id. Currently, only four members of the

White House Information Technology staff have access to the data, and “[t]hese staff members

are not authorized to transfer or utilize this data.” Id. ¶ 3. “Non-public Commission records will

continue to be maintained as Presidential Records,” and will not “be transferred to the DHS or

another agency, except to NARA, if required, in accordance with federal law.” Id. ¶ 5.

                                   STANDARD OF REVIEW

       A district court should reconsider, modify, or vacate a preliminary injunction when

“changed circumstances ha[ve] rendered continued enforcement of the preliminary injunction . . .

contrary to the public interest.” Petties ex rel. Martin v. District of Columbia, 662 F.3d 564, 571



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(D.C. Cir. 2011); see also Gooch v. Life Investors Ins. Co. of Am., 672 F.3d 402, 414 (6th Cir.

2012) (“To obtain modification or dissolution of an injunction, a movant must demonstrate

significant ‘changes in fact, law, or circumstances since the previous ruling.”) (quoting Gill v.

Monroe Cty. Dep’t of Soc. Servs., 873 F.2d 647, 648-49 (2d Cir. 1989)); see also Salazar v.

Buono, 559 U.S. 700, 714-15 (2010) (plurality op.) (“Because injunctive relief ‘is drafted in light

of what the court believes will be the future course of events, . . . a court must never ignore

significant changes in the law or circumstances underlying an injunction lest the decree be turned

into an ‘instrument of wrong.’”) (quoting 11A Charles Alan Wright, Arthur R. Miller, & Mary

Kay Kane, Fed. Prac. & Proc., § 2961 (2d ed. 1996)).

       Courts in this Circuit have not squarely resolved the standard of review of a motion for

reconsideration of a preliminary injunction, i.e., whether it is the standard set out in Federal Rule

of Civil Procedure 54(b), which addresses orders that “adjudicate[] fewer than all the claims or

the rights and liabilities of fewer than all the parties,” or that of Rule 59(e), which is generally

used for reconsideration of final judgments. See Fox Television Stations, Inc. v. FilmOn X LLC,

968 F. Supp. 2d 134, 139-40 (D.D.C. 2013) (discussing standard of review). When, as here, a

motion is brought “when there has been a change of circumstances between entry of the

injunction and the filing of the motion that would render the continuance of the injunction in its

original form in equitable,” the more permissive standard applies. See id. at 140 (citing Favia v.

Ind. Univ. of Pa., 7 F.3d 332, 337 (3d Cir. 1993), Credit Suisse First Boston Corp. v. Frunwald,

400 F.3d 1119, 1124 (9th Cir. 2005)). “When there are no such changed circumstances, the Rule

59(e) reconsideration standard applies.” Id. Under either standard, however, the court may

reconsider its previous order if “new facts are presented that were not available earlier,”

Clemente v. Fed. Bureau of Investigation, No. CV 08-1252 (BJR), 2015 WL 10738604, at *1



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(D.D.C. Dec. 1, 2015), aff’d, 867 F.3d 111 (D.C. Cir. 2017) (Rule 59(e)) or “where a controlling

or significant change in the law or facts has occurred since the submission of the issue to the

court,” McLaughlin v. Holder, 864 F. Supp. 2d 134, 141 (D.D.C. 2012) (Rule 54(b)).1

                                            ARGUMENT

       I.        In Light of the Dissolution of the Commission, Plaintiff Cannot Show
                 Irreparable Injury.

       In order to justify injunctive relief, the plaintiff’s “injury must be both certain and great;

it must be actual and not theoretical.” Wisc. Gas. Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir.

1985); see also Power Mobility Coal. v. Leavett, 404 F. Supp. 2d 190, 203 (D.D.C. 2005)

(plaintiff must show that the injury is “imminent, certain, and irreparable.”). This is a “high

standard,” and “[t]he possibility that adequate compensatory or other corrective relief will be

available at a later date, in the ordinary course of litigation weighs heavily against a claim of

irreparable harm.” Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C.

Cir. 2006); see also id. (“The key word in this consideration is irreparable. Mere injuries,

however substantial, in terms of money, time and energy expended in the absence of a stay are

not enough.”) (quoting Wisc. Gas. Co., 758 F.2d at 674); see also Friends for All Children, Inc.

v. Lockheed Aircraft Corp., 746 F.2d 816, 830 (D.C. Cir. 1984) (preliminary injunction is

appropriate to “prevent future injury”).

           In light of the Commission’s dissolution, there is no longer any risk of future injury

justifying the extraordinary remedy of preliminary injunctive relief. Instead, as this case now

concerns a closed universe of documents, this litigation can be resolved in the ordinary course.



       1
         One significant difference between the standards is that a motion filed under Rule 59(e)
“must be filed no later than 28 days after the entry of the judgment.” Fed. R. Civ. P. 59(e). This
difference is immaterial here, however, since this motion is filed well within the 28 day
timeframe.
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In its order partially granting plaintiff’s motion for a preliminary injunction, this “Court f[ound]

that in the absence of being provided with past and future documents of the kinds described

above, Plaintiff’s right to fully participate in the Commission would be irreparably harmed.”

Mem. Op. at 22. The Court analogized to the plaintiff in Cummock, concluding that “[t]here is

no way to tell whether Cummock’s full participation in the commission along the way would

have affected its final report,” and that “[i]n this case, the injunctive remedy is warranted to allay

the same kind of irreparable harm to Plaintiff that Cummock herself suffered.” Id. Given the

Commission’s dissolution without issuing a final report or making any recommendations, see

Second Herndon Decl. ¶ 5, (unlike in Cummock), there is no prospect of such future harm, much

less any irreparable harm. Because the Commission no longer exists, there will no longer be any

deliberations, and injunctive relief is no longer required to protect plaintiff’s right to participate

in such deliberations. See Mem. Op. at 17 (“Plaintiff is entitled to substantive information so

that he can contribute along the way in shaping the ultimate recommendations of the

Commission . . . .”).

        Moreover, because the Commission was terminated without issuing a final report or

making any recommendations, including any preliminary findings, Second Herndon Decl. ¶ 5,

plaintiff will not prospectively be “denied the opportunity to review documents that were

prepared for or relied by the Commission in formulating its recommendations.” Cummock, 180

F.3d at 285; see also Mem. Op. at 16 (plaintiff is entitled to material which will “inform his full

participation in the Commission and its development of recommendations to the President.”).

This case, therefore, is unlike Cummock where a committee member was denied the ability to

shape the recommendations of the committee, in the form of a published report or a “dissent

incorporating her fully enlightened views.” See Cummock, 180 F.3d at 293. Here, there simply



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are no recommendations, past, present, or future. See Second Herndon Decl. ¶ 5. Accordingly,

there is no longer a prospect of future injury warranting preliminary injunctive relief.

       Nor would any potential injury to a legally cognizable interest be irreparable. To the

extent that there are materials to which plaintiff remains entitled under FACA section 10(b) or

Cummock, those can be obtained through the normal litigation process (including any appeals, if

necessary). That litigation can also fully develop what rights, under this procedural posture,

plaintiff has pursuant to Cummock. As in “FOIA, it is difficult for a plaintiff to demonstrate

‘irreparable harm’ that is in fact ‘beyond remediation’ because he is entitled to obtain all

responsive and non-exempt documents at the conclusion of the litigation.” Sai v. Transp. Sec.

Admin., 54 F. Supp. 3d 5, 10 (D.D.C. 2014); Judicial Watch, Inc. v. U.S. Dep’t of Homeland

Sec., 514 F. Supp. 2d 7, 10 (D.D.C. 2007) (“While plaintiff argues, in effect, that any delay [in

the production of records] is an irreparable harm, there is no indication that our Circuit Court

would sanction such a sweeping contention in the context of FOIA litigation.”). That reasoning

follows in the FACA context as well, particularly when, as here, the Commission has been

terminated without issuing a report or recommendations.

       In its order, this Court stated that “[d]istrict courts in this circuit have recognized that,

where an obligation to disclose exists, plaintiffs may suffer irreparable harm if they are denied

access to information that is highly relevant to an ongoing public debate.” Mem. Op. at 21.

Under these circumstances, however, there is no such urgency. Given the dissolution of the

Commission, plaintiff has not demonstrated that the information he seeks would be “vital to any

current and ongoing debate” about the Commission itself. Sai, 54 F. Supp. 3d at 5 (emphasis

added). The Commission no longer exists; a debate about its past operations does not cause

future injury. This case, then, is unlike the situations cited by this Court in Washington Post v.



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Department of Homeland Security, 459 F. Supp. 2d 61, 74-75 (D.D.C. 2006), where the court

granted a preliminary injunction based on the determination that the “information is of vital

public interest for an upcoming congressional election,” or in Electronic. Privacy Information.

Center v. Department of Justice, 416 F. Supp. 2d 30, 41 (D.D.C. 2006), where the court found

that the information would be vital to the current and ongoing debate surrounding the legality of

the Administration’s warrantless surveillance program.” Rather, it is more like cases where

plaintiffs sought general information without demonstrating prospective urgency. See, e.g., Sai,

54 F. Supp. 3d at 11; Elec. Privacy Info. Ctr. v. Dep’t of Justice, 15 F. Supp. 3d 32, 45 (D.D.C.

2014) (rejecting the claim of irreparable harm when it “is not at all ‘certain’ that the records

EPIC seeks are crucial to the public’s understanding of, or participation in, the ongoing

surveillance debate”).

       Plaintiff has also suggested that he would be injured prospectively if he cannot participate

in conversations about the final disposition of the state voter data information that had been

collected by the Commission and maintained for the Commission by the Director of White

House Information Technology. See, e.g., Ctr. for Arms Control & Non-Proliferation v. Pray,

531 F.3d 836, 839 n.* (D.C. Cir. 2008) (“Commission relinquished custody of its records and

ceased to exist”); Freedom Watch, Inc. v. Obama, 859 F. Supp. 2d 169, 174-75 (D.D.C. 2012)

(FACA section 10(b) claims could be brought against the “current custodian” of records

produced by a then-existing, now-dissolved FACA committee); see also Second Herndon Decl. ¶

3 (“Only four members of the WHIT’s staff have had and continue to have access to the data.

These staff members are not authorized to transfer or utilize this data.”). But plaintiff’s desire

for information about activities related to winding down the Commission so that he can

participate in determining the final disposition of the state voter data collected by the



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Commission does not constitute an injury to a legally cognizable interest. Plaintiff has no legal

interest in activities or materials that post-date the dissolution of the Commission. FACA section

10(b) itself requires that certain documents “shall be available for public inspection . . . until the

advisory committee ceases to exist.” 5 U.S.C. app. 2 § 10(b) (emphasis added). By the plain text

of FACA, the right to information does not extend beyond the Commission’s life.2 Similarly, as

this Court held, “the Commission’s duty to provide information pursuant to Section 10(b) and

Cummock, is like Plaintiff’s right to the same, applicable during the life of the Commission.”

Mem. Op. at 17-18 (emphasis added). Again, plaintiff’s rights concern information that was

created or obtained during the Commission’s existence, not information that post-dates the

Commission.

       Indeed, plaintiff’s argument depends on a fundamental misconception: that the post-

Commission wind-down activities concern activities done by the Commission, to which plaintiff

has a right to participate. They are not; the Commission no longer exists, plaintiff is no longer a

Commission member, and any such wind-down activities would be done by the current custodian

of the Commission’s records. See Second Herndon Decl. ¶ 4 (disposition of state voter data); id.

¶ 5 (disposition of non-public Commission records). Plaintiff has pointed to no authority, and

defendants are aware of none, that suggest that a former advisory committee member has the

right to control the disposition of material once possessed by a now-dissolved advisory

committee. Cummock, which concerned the rights of FACA committee members to participate




       2
          Defendants recognize that the right to information that predated the Commission’s
dissolution may persist after the Commission’s termination. See, e.g., Freedom Watch, 859 F.
Supp. 2d at 174-75. That right is distinct from the separate claim to information that was created
after the Commission was dissolved, which appears to be what plaintiff is seeking.
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in a FACA committee’s formulation of its recommendations, does not address that issue, nor did

this Court’s opinion.

       II.     In Light of the Dissolution of the Commission, Plaintiff Cannot Show
               Likelihood of Success on the Merits.

       In its order partially granting the motion for preliminary injunction, the Court concluded

that “[t]he likelihood of Plaintiff’s success in securing mandamus relief is attributable to this

right to substantive material that would inform his full participation in the Commission and its

development of recommendations to the President.” Mem. Op. at 16. The Court further

concluded that plaintiff “has a right to access documents that the Commission is considering

relying on in the course of developing its final recommendations,” so that he may “fully

participate” in the Commission’s proceedings. Id. at 15; see also id. at 17 (“Plaintiff is entitled

to substantive information so that he can contribute along the way in shaping the ultimate

recommendations of the Commission.”). The Court’s ruling therefore was intended to effectuate

plaintiff’s “right to fully participate in the deliberations of the Commission,” and to ensure that

he had an “opportunity to review documents that were prepared for or relied upon by the

Commission in formulating its recommendations.” Cummock, 180 F.3d at 284.

       In light of the changed circumstances, however, plaintiff has not shown that he is likely

to succeed on the merits of his Cummock claim. As this Court repeatedly recognized,

Cummock’s holding was about ensuring that a Commission member had a right to fully

participate in the Commission’s development of recommendations. But Cummock did not

consider the scope of a member’s right to participate when the Commission was dissolved before

any report or recommendations were issued; instead, it explicitly considered a scenario where a

final report was issued without a Commission member having the chance to participate. Mem.

Op. at 16. Defendants respectfully submit that, in light of these changed circumstances, as well

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as the lack of prospective injury, the proper remedy is to fully brief the application of Cummock

to this situation, which Cummock itself never addressed. Finally, even to the extent that this

Court eventually determines that plaintiff has a clear right to materials, either via his status as a

former Commission member pursuant to Cummock or as a member of the public pursuant to

FACA section 10(b),3 defendants respectfully submit that a full record and full briefing are

appropriate in order to determine whether equitable grounds exist for requiring disclosure. See

Mem. Op. at 20.

       III.    In Light of the Dissolution of the Commission, the Balance of the Equities
               and the Public Interest Do Not Warrant Preliminary Injunctive Relief.

       Given the changed circumstances caused by the dissolution of the Commission, the

balance of the equities and the public interest do not warrant preliminary injunctive relief. In its

opinion, the Court concluded that the balance of the equities and the public interest justified

relief because “[d]enial of the requested injunction would frustrate [plaintiff’s] interest in

contributing his unique perspective [to the Commission] as well as gaining the ‘recognition and

even prestige,’ of full participation in such a commission.” Mem. Op. at 23 (internal citations

and quotation marks omitted). In light of the Commission’s dissolution, plaintiff no longer has

an interest in contributing his perspective to the Commission, since the Commission no longer

exists. Nor can plaintiff gain recognition and prestige by participating in a Commission that does

not exist. And, as discussed earlier, the public interest is significantly diminished given the

dissolution of the Commission.




       3
         Plaintiff does not appear to claim in his motion that he is entitled to any particular
materials based solely on FACA section 10(b), as opposed to his status as a then-Commission
member.
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       Furthermore, defendants would be harmed by the continuation of this injunction.

Plaintiff appears to seek forward-looking documents related to the disposition of data collected

by a now-dissolved Commission, which are now held by individuals within the Executive Office

of the President. See Second Herndon Decl. ¶¶ 4, 5. Such a request would insert a non-federal

employee into sensitive internal government discussions about the proper disposition of records

in compliance with federal law, and may also touch upon internal security practices and

litigation-related obligations. Defendants would be harmed if they were required to release such

sensitive and privileged information to a member of the general public (as plaintiff now is). See

In re Cheney, 406 F.3d 723, 727 (D.C. Cir. 2005) (en banc) (“[S]pecial considerations control

when the Executive Branch’s interest in maintaining the autonomy of its office and safeguarding

the confidentiality of its communications are implicated.”) (quoting Cheney v. U.S. Dist. Ct. for

D.C., 542 U.S. 367, 385 (2004)). In addition, under these changed circumstances, defendants

would also be harmed by the immediate release of the documents that are the subject of the

preliminary injunction order. Such documents, particularly if the order is broadly interpreted,

would include internal deliberations among members of the President’s and Vice President’s

staff, not shared with any former Commission members. In light of Cheney’s discussion about

the importance of preserving Presidential communications, defendants respectfully suggest that

the equities have now shifted with respect to these and other documents.

       IV.     In the Alternative, This Court Should Stay the Injunction Pending
               Consideration of a Possible Appeal.

       If the Court denies defendants’ motion for reconsideration of the preliminary injunction,

defendants respectfully request that the Court stay its order pending consideration of appeal.

“[C]ourts have routinely issued stays where the release of documents would moot a defendant’s

right to appeal.” People for the Am. Way Found. v. U.S. Dep’t of Educ., 518 F. Supp. 2d 174,

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177 (D.D.C. 2007) (citing John Doe Agency, et al. v. John Doe Corp., 488 U.S. 1306, 1308-09

(1989) (Marshall, J., in chambers)); see also John Doe Co. v. CFPB, 235 F. Supp. 2d 194, 206

(D.D.C. 2017) (“Courts routinely issue injunctions to stay the status quo when the trial court’s

order would otherwise allow the prevailing party to engage in actions that would moot the

loosing party’s right to appeal.”). Defendants would be irreparably harmed if they were ordered

to “release documents prior to having the opportunity to seek meaningful appellate review.”

People for the Am. Way Found., 518 F. Supp. 2d at 177. Furthermore, given the Commission’s

dissolution, any injury to the plaintiff (to the extent there is any) would be significantly

diminished relative to his previous posture where the Commission remained in existence.

                                          CONCLUSION

       For the aforementioned reasons, this Court should reconsider and vacate its December 22,

2017, order granting-in-part and denying-in-part plaintiff’s motion for a preliminary injunction.



Dated: January 9, 2018                          Respectfully submitted,

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